                                       Case 20-10361-KBO                  Doc 28           Filed 02/19/20             Page 1 of 5


      Fill in this information to Identify the case:

      Debtor Name: Hygea Holdings Corp.
                                                                                                                                             Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                  amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 40 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if       Deduction          Unsecured
                                                                                                                    partially secured     for value of       claim
                                                                                                                                          collateral or
                                                                                                                                          setoff

  1       BRIDGING FINANCE INC.               CONTACT: NATASHA SHARPE         AMENDED AND                                   UNKNOWN                                 UNKNOWN
          77 KING STREET WEST, SUITE 2925     PHONE: 416.309.8718 /           RESTATED CREDIT
          P.O. BOX 322                        416.362.6283                    AGREEMENT
          TORONTO, ONTARIO M5K 1K7            FAX: 888.920.9599               DATED JANUARY
          CANADA                              NSHARPE@BRIDGINGFINANC          31, 2017
                                              E.CA


  2       N5HYG, LLC; NEVADA 5, INC.          CONTACT: CHRIS FOWLER           LITIGATION                CUD                                                     $15,000,000.00
          950 W. UNIVERSITY DR.               C/O MILLER LAW FIRM
          ROCHESTER, MI 48307                 PHONE: 248.841.2200 /
                                              313.483.0880
                                              FAX: 248.536.0869
                                              CDK@MILLERLAWPC.COM
  3       AMERICAN EXPRESS COMPANY            CONTACT: MICHELLE VISIEDO TRADE                                                                                   $12,682,500.00
          1801 NW 66TH AV                     PHONE: 212.640.2000
          STE 103                             FAX: 212.640.0404
          PLANTATION, FL 33313                MICHELLE.T.VISIEDO@AEXP.
                                              COM


  4       INTERNAL REVENUE SERVICE            PHONE: 800.829.0115             PAYROLL TAX                                                                       $10,426,750.00
          INTERNAL REVENUE SERVICE            FAX: 855.235.6787
          OGDEN, UT 84201
  5       MED PLAN LLC                        CONTACT: RODOLFO                PUT OPTION                CUD                                                     $10,000,000.00
          6840 SW 40TH STREET                 RODRIGUEZ-DURET
          SUITE 202A                          PHONE: 305.262.1610
          MIAMI, FL 33155                     FAX: 305.262.1611
                                              RUDY@RODRIGUEZ-
                                              DURET.COM




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims                                        Page 1
                                  Case 20-10361-KBO                   Doc 28         Filed 02/19/20             Page 2 of 5
  Debtor: Hygea Holdings Corp.                                                                  Case Number (if known):
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                                                                        professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                        services, and         or disputed     setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                              Total claim, if       Deduction          Unsecured
                                                                                                              partially secured     for value of       claim
                                                                                                                                    collateral or
                                                                                                                                    setoff

  6     BOND CAPITAL                       CONTACT: DAVIS VAITKUNAS PUT OPTION                    CUD                                                      $7,900,000.00
        1160-1100 MELVILLE STREET          PHONE: 604.687.2663
        VANCOUVER, BC V6E 4A6              FAX: 888.920.9599
        CANADA
  7     GOVIN RAJAN                        PHONE: 941.720.3336          PROMISSORY NOTE                                                                    $6,000,000.00
        4908 64TH DRIVE WEST               GRAJAN240@GMAIL.COM
        BRADENTON, FL 34210
  8     JANE COHEN, MD                     PHONE: 305.674.5925          PUT OPTION                CUD                                                      $4,800,000.00
        1801 NE 123RD STREET               FAX: 305.674.5927
        SUITE 405                          DRJCOHEN@PGSFL.NET
        NORTH MIAMI BEACH, FL 33181
  9     WELLCARE HEALTH PLANS, INC.        CONTACT: MARIA SANCHEZ       MSO DEFICIT                                                                        $4,691,621.00
        ATTN: MARIA SANCHEZ                PHONE: 800.960.2530 /
        8735 HENDERSON ROAD                855.538.0454
        BLDG 1                             FAX: 866.201.0657 (APPEALS
        TAMPA, FL 33634                    FAX)
                                           MARIA.SANCHEZ@WELLCAR
                                           E.COM
  10    WILLIAM STEELE HOLDINGS, LLC       CONTACT: C/O HABER           LITIGATION                CUD                                                      $3,720,643.00
        C/O HABER SLADE, PA                SLADE, PA
        251 N.W. 23RD ST.                  PHONE: 305-379-2400
        MIAMI, FL 33127                    FAX: 305-379-1106
                                           RSLADE@DHABERLAW.COM
  11    COVENTRY HEALTH PLAN OF            CONTACT: KARLA          MSO DEFICIT                                                                             $3,433,200.00
        FLORIDA, INC.                      SHINHOSTER
        ATTN: KARLA SHINHOSTER             PHONE: 855.423.5971 /
        1340 CONCORD TERRACE               954.858.3000
        SUNRISE, FL 33323                  FAX: 954.965.3508 /
                                           954.858.3694
                                           KARLA.SHINHOSTER@AETNA.
                                           COM
  12    PRIMUM ALTERNATIVES, INC.          CONTACT: GABRIEL PEREZ /     PUT OPTION                CUD                                                      $3,200,000.00
        ATTN: GABRIEL PEREZ / FRANK        FRANK RAKUSA
        RAKUSA                             PHONE: 305.397.8747
        7520 SW 57TH AVENUE                FAX: 305.397.8883
        SUITE J                            GPEREZ1569@AOL.COM
        MIAMI, FL 33143
  13    CLAUDIO ARELLANO                   CONTACT: CLAUDIO             PUT OPTION                CUD                                                      $3,000,000.00
        13335 SW 124TH STREET              ARELLANO
        SUITE 115                          PHONE: 305.232.7200 /
        MIAMI, FL 33186                    305.878.3610
                                           FAX: 305.232.7223
                                           CFARELLANO@ALLCARENET
                                           WORK.COM
  14    NEXTGEN HEALTHCARE                 CONTACT: ACCT SERVICES   TRADE                                                                                  $2,766,073.00
        INFORMATION SYSTEMS, LLC           DEPT / GREG KING / BRIAN
        ATTN: ACCT SERVICES DEPT / GREG    FAIRBURN / JASON FLAM
        KING / BRIAN FAIRBURN / JASON      PHONE: 949.255.2616 /
        FLAM                               858.369.3919
        18111 VAN KARMAM                   FAX: 215.385.7706 /
        STE 700                            949.255.2605
        IRVINE, CA 92612                   GKING@NEXTGEN.COM;
                                           BFAIRBURN@NEXTGEN.COM
                                           ; JASONF@NEXTGEN.COM




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                                  Case 20-10361-KBO                   Doc 28        Filed 02/19/20             Page 3 of 5
  Debtor: Hygea Holdings Corp.                                                                 Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  15    PRIORITY HEALTHCARE                CONTACT: STACY M            LITIGATION                CUD                                                      $2,172,080.00
        DISTRIBUTION INC.                  HALLMARK
        2297 SOUTHWEST BLVD                PHONE: 800.942.5999
        SUITE D                            FAX: 877.296.4926
        GROVE CITY, OH 43123               SHALLMARK@EXPRESS-
                                           SCRIPTS.COM
  16    COVENTRY HEALTH PLAN OF            CONTACT: KARLA          MSO DEFICIT                                                                            $2,137,527.00
        FLORIDA, INC.                      SHINHOSTER
        ATTN: KARLA SHINHOSTER             PHONE: 855.423.5971 /
        1340 CONCORD TERRACE               954.858.3000
        SUNRISE, FL 33323                  FAX: 954.965.3505 /
                                           954.858.3694
                                           KARLA.SHINHOSTER@AETNA.
                                           COM
  17    JOSE PRIDA TRUST                   CONTACT: DENIS KLEINFELD    UNSECURED LOAN                                                                     $2,106,715.00
        ATTN: DENIS KLEINFELD (APPLE       (APPLE TREE LANE LLC)
        TREE LANE LLC)                     PHONE: 305.928.1500
        801 NE 167TH STREET                FAX: 786.664.9212
        SUITE 306
        NORTH MIAMI BEACH, FL 33162
  18    SHUTLANDER LLC                     CONTACT: DENIS KLEINFELD    UNSECURED LOAN                                                                     $2,106,715.00
        ATTN: DENIS KLEINFELD (APPLE       (APPLE TREE LANE LLC)
        TREE LANE LLC)                     PHONE: 305.928.1500
        801 NE 167TH STREET                FAX: 786.664.9212
        SUITE 306
        NORTH MIAMI BEACH, FL 33162
  19    SIMPLY HEATHCARE PLANS, INC.       CONTACT: TOMAS OROZCO       MSO DEFICIT                                                                        $2,076,676.00
        ATTN: TOMAS OROZCO                 PHONE: 944.405.4297
        9250 W FLAGLER STREET              FAX: 800.964.3627
        SUITE 600                          TOROZCO@SIMPLYHEALTHC
        MIAMI, FL 33174                    AREPLANS.COM
  20    GAYLIS, NORMAN B, MD               CONTACT: NORMAN B           PUT OPTION                CUD                                                      $2,000,000.00
        21097 NE 27TH COURT                GAYLIS
        SUITE 200                          PHONE: 305.652.6676
        AVENTURA, FL 33180                 FAX: 305.652.6676
                                           NGAYLISMD@GMAIL.COM
  21    FREEDOM HEALTH INC.                CONTACT: TOMAS OROZCO       MSO DEFICIT                                                                        $1,930,353.00
        ATTN: TOMAS OROZCO                 PHONE: 8813.506.6000
        5403 N CHURCH AVE                  FAX: 813.490.5303
        TAMPA, FL 33614                    TOROZCO@SIMPLYHEALTHC
                                           AREPLANS.COM
  22    CEA ATLANTIC ADVISORS LLC          CONTACT: C/O JOHNSON        LITIGATION                CUD                                                      $1,500,000.00
        C/O JOHNSON POPE BOKOR RUPPEL      POPE BOKOR RUPPEL &
        & BURNS LLP                        BURNS LLP
        101 E. KENNEDY BLVD                PHONE: 813.226.8844
        SUITE 3300                         FAX: 813.225.1513
        TAMPA, FL 33602                    GUYB@JPFIRM.COM
  23    KATALYST FP LLC                    CONTACT: STEPHEN            PUT OPTION                CUD                                                      $1,200,000.00
        ATTN: STEPHEN PERRONE /            PERRONE / SHARMILA
        SHARMILA RUDER-AMICO / NEIL        RUDER-AMICO / NEIL
        BROWN                              BROWN
        283 COMMACK ROAD                   PHONE: 516.543.0026
        SUITE 215                          FAX: 513.543.0026
        COMMACK, NY 11725




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                                   Case 20-10361-KBO                  Doc 28       Filed 02/19/20              Page 4 of 5
  Debtor: Hygea Holdings Corp.                                                                 Case Number (if known):
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   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
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                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  24    BLUE CROSS AND BLUE SHIELD OF      CONTACT: ROSIE STOETZER  MSO DEFICIT                                                                           $1,108,202.00
        FLORIDA, INC.                      PHONE: 800.955.5692
        ATTN: ROSIE STOETZER               FAX: 913.982.8401 /
        4800 DEARWOOD CAMPUS               904.357.6331
        PARKWAY                            ROSIE.STOETZER@BCBSFL.CO
        JACKSONVILLE, FL 32246             M
  25    PHYSICIANS UNITED PLAN, INC.       CONTACT: GROELLE &    LITIGATION                      CUD                                                        $900,000.00
        ATTN: GROELLE & SALMON, P.A.       SALMON, P.A.
        1715 N WESTSHORE BLVD              PHONE: 813.849.7200
        SUITE 320                          FAX: 813.849.7201
        TAMPA, FL 33607                    GSTCOURTDOCS@GSPALAW.
                                           COM;
                                           RMAY@GSPALAW.COM
  26    HINES VAF II DORAL, L.P.           CONTACT: JOSHUA       LEASE                                                                                      $877,107.00
        ATTN: JOSHUA LEVENSON              LEVENSON
        499 PARK AVENUE                    PHONE: 212.294.9022
        12TH FLOOR                         FAX: 212.230.2276
        NEW YORK, NY 10022                 JOSHUA.LEVENSON@HKLAW
                                           .COM
  27    BRUCE ROMANELLO                    PHONE: 352.348.4188         ACQUISITION COST                                                                     $769,000.00
        7320 DELAINEY CT                   FAX: 941.761.5124
        SARASOTA, FL 34240                 BRUCE@FIRSTHARBOUR.CO
                                           M
  28    CARDIOLOGY CONSULTANTS OF          CONTACT: HILAIRE        PUT OPTION                    CUD                                                        $725,000.00
        WEST BROWARD, P.A.                 FERNANDES
        ATTN: HILAIRE FERNANDES            PHONE: 954.587.4112
        7050 NW 4TH STE                    FAX: 954.587.2401
        SUITE 101                          HILAIRE.FERNANDEZ@HYGEA
        FORT LAUDERDALE, FL 33317          .NET
  29    N5HYG, LLC                         CONTACT: C/O ALBRIGHT LITIGATION                      CUD                                                        $600,000.00
        ATTN: C/O ALBRIGHT STODDARD        STODDARD WARNICK &
        WARNICK & ALBRIGHT                 ALBRIGHT
        801 S. RANCHO DR.                  PHONE: 702-384-7111
        SUITE D-4                          FAX: 702-384-0605
        LAS VEGAS, NV 81904                GMA@ALBRIGHTSTODDARD.
                                           COM
  30    GABRIELA & BELLA CASTILLO TRUST    CONTACT: DENIS KLEINFELD    UNSECURED LOAN                                                                       $421,343.00
        ATTN: DENIS KLEINFELD (APPLE       (APPLE TREE LANE LLC)
        TREE LANE LLC)                     PHONE: 305.928.1500
        801 NE 167TH STREET                FAX: 786.664.9212
        SUITE 306
        NORTH MIAMI BEACH, FL 33162
  31    4FRONT CAPITAL PARTNERS, INC.      CONTACT: RAJ NATARAJAN / TRADE                                                                                   $400,000.00
        ATTN: RAJ NATARAJAN / JOHN         JOHN TRAVAGLINI
        TRAVAGLINI                         PHONE: 416.861.1100 /
        47 COLBORNE ST                     647.994.4072
        SUITE 301                          RNATARAJAN@4FRONTCAPIT
        TORONTO, ON M5V 1P8 CANADA         ALPARTNERS.COM;
                                           JOHN@4FRONTCAPITALPART
                                           NERS.COM
  32    NELSON MULLINS RILEY &             CONTACT: MIKE SEGAL,        TRADE                                                                                $400,000.00
        SCARBOROUGH LLP                    PARTNER
        ATTN: MIKE SEGAL, PARTNER          PHONE: 305.373.9430
        2 SOUTH BISCAYNE BLVD.             FAX: 305.373.9443
        21ST FLOOR                         MIKE.SEGAL@NELSONMULLI
        MIAMI, FL 33131                    NS.COM


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                                  Case 20-10361-KBO                   Doc 28        Filed 02/19/20             Page 5 of 5
  Debtor: Hygea Holdings Corp.                                                                 Case Number (if known):
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                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  33    WEIRFOULDS LLP                     CONTACT: MICHAEL            TRADE                                                                                $381,032.00
        ATTN: MICHAEL DOLPHIN              DOLPHIN
        66 WELLINGTON STREET WEST,         PHONE: 416.947.5005 /
        SUITE 4100                         416.365.1110
        P.O. BOX 35, TD BANK TOWER         FAX: 416.365.1876
        TORONTO, ON M5K 1B7 CANADA         MDOLPHIN@WEIRFOULDS.C
                                           OM
  34    MICHAEL E HOROWITZ, MD             PHONE: 305.931.9002         PUT OPTION                CUD                                                        $323,333.00
        4302 ALTON ROAD                    DOCMIK@BELLSOUTH.NET
        SUITE 320
        MIAMI BEACH, FL 33140
  35    DR. VALERIE SOLOMON, DR. IRWIN     CONTACT: C/O LAVIN LAW      LITIGATION                CUD                                                        $274,000.00
        SOLOMON                            GROUP PA
        ATTN: C/O LAVIN LAW GROUP PA       PHONE: 954-967-2788
        2670 NE 215TH ST.                  FAX: 954-983-7021
        MIAMI, FL 33180                    ALAVIN@LAVINLAWYERS.CO
                                           M
  36    DAN K. MILLER                      CONTACT: DANIEL K MILLER    EMPLOYEE                                                                             $256,904.00
        1360 TROWBRIDGE ROAD               PHONE: 305.710.2322         SEVERANCE
        BLOOMFIELD HILLS, MI 48304         DKMILLER2@GMAIL.COM
  37    WITHUM, SMITH & BROWN PC           CONTACT: RUSSELL     TRADE                                                                                       $250,418.00
        ATTN: RUSSELL GOLDBERG             GOLDBERG
        200 S. ORANGE AVENUE               PHONE: 407.849.1569
        SUITE 1200                         FAX: 407.849.1119
        ORLANDO, FL 32801                  RGOLDBERG@WITHUM.COM


  38    HUMANA, INC.                       CONTACT: KAREN LAMBERT MSO DEFICIT                                                                               $249,315.00
        ATTN: KAREN LAMBERT                PHONE: 800.457.4708
        4030 W BOY SCOUT BLVD              FAX: 305.626.5179
        TAMPA, FL 33607                    KLAMBERT2@HUMANA.COM


  39    HUMANA, INC.                       CONTACT: KAREN LAMBERT MSO DEFICIT                                                                               $230,901.00
        ATTN: KAREN LAMBERT                PHONE: 800.477.6931
        4030 W BOY SCOUT BLVD              FAX: 305.626.5179
        TAMPA, FL 33607                    KLAMBERT2@HUMANA.COM


  40    COBLE HEALTH GROUP, INC.           CONTACT: HAL COBLE          TRADE                                                                                $200,000.00
        ATTN: HAL COBLE                    PHONE: 866.514.5333 /
        3875 ROLAND HAYES PKWY SW          770.367.6840
        CALHOUN, GA 30701                  FAX: 404.420.2796
                                           HAL@ADAPTIVEALLERGY.CO
                                           M




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